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				LOMOE v. CASTELLS TIRE BARN2017 OK 99Case Number: 116139Decided: 12/11/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 99, __ P.3d __

				



NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 




Kalin M. Lomoe, Petitioner,v.Castells Tire Barn, Inc., Compsource Mutual Ins. Co., and The Workers' Compensation Commission, Respondents.
ORDER OF SUMMARY DISPOSITION
¶1 In this matter, THE COURT FINDS, from a review of the record and briefs submitted, that this Court's recent decision in Gibby v. Hobby Lobby Stores, Inc., 2017 OK 78 (October 3, 2017), disposes of the issues presented. Rule 1.201 of the Oklahoma Supreme Court Rules provides: "In any case in which it appears that a prior controlling appellate decision is dispositive of the appeal, the court may summarily affirm or reverse, citing in its order of summary disposition this rule and the controlling decision." Okla. Stat. tit. 12, ch. 15, app. 1 (2011).
¶2 IT IS THEREFORE ORDERED that the decision of the Workers' Compensation Commission is vacated, the decision of the Administrative Law Judge is reversed, and the matter is remanded for proceedings consistent with the opinion in the controlling decision.
¶3 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 11th day of December, 2017.
/S/CHIEF JUSTICE
CONCUR: Combs, C.J., Watt, Edmondson, Colbert, and Reif, JJ.
CONCUR IN PART DISSENT IN PART: Gurich, V.C.J, Kauger, J.
DISSENT: Winchester, J.
NOT PARTICIPATING: Wyrick, J.




	Citationizer© Summary of Documents Citing This Document
	
	
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	Citationizer: Table of Authority
	
	
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	Oklahoma Supreme Court Cases
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&nbsp;2017 OK 78, GIBBY v. HOBBY LOBBY STORES INC.Cited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
